          Case 1:24-cv-04234-JAM Document 6-1 Filed 06/17/24 Page 1 of 1 PageID #: 261

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

 Lihua Gan, Pu Gao, Yashu Li, Ruimin Liu, Na Tang,                   )
  Kaiqin Wang, Weishan Wen, Xingqin Wen, Dong                        )
  Yan, Siyun Yan, Xinlin Yang, Jinchun Li, Guoyong                   )
                  Ma, Lijuan Yang                                    )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 1:24-cv-04234-JAM
                                                                     )
   GSUIG Real Estate Member LLC, Webster Bank,                       )
   N.A. F/K/A Sterling National Bank, Empire Outlet                  )
        Management, LLC, BFC Partners, LLC                           )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Webster Bank
                                           19 Summer Street
                                           Stamford, CT 06905




          A lawsuit has been filed against you.




-
         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Shiyong Ye
                                           Matthew Sava
                                           Matthew Livingston
                                           Reid & Wise LLC
                                           One Penn Plaza, Suite 2015
                                           (212) 858-9968

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               DOUGLAS C. PALMER
                                                                              CLERK OF COURT

           June 17, 2024
                                                                                                                   - Director
Date:
                                                                                          Signature of Clerk or Deputy Clerk
